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             Exhibit 14
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    1                  UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
    2
           NEFTALI MONZON, as                )       CASE NO.
    3      Personal Representative           ) 2:17-cv-01371-ODW-SK
           of the Estate of JUNEF            )
    4      RAGADIO MONZON and                )
           individually; MARYLOU             )
    5      MONZON, as Personal               )
           Representative of the             )
    6      Estate of JUNEF RAGADIO           ) V I D E O T A P E D
           MONZON and individually;          )
    7      JERRICO REYES, an                 ) D E P O S I T I O N
           individual,                       )
    8                                        )
                        Plaintiffs,          )
    9                                        )
                 vs.                         )
   10                                        )
           CITY OF MURRIETA, a               )
   11      governmental entity;              )
           SCOTT MONTEZ, an                  )
   12      INDIVIDUAL; CHRIS                 )
           ZELTNER, an individual;           )
   13      KYLE MIKOWSKI, an                 )
           individual; ZACH                  )
   14      BRADLEY, an individual            )
           AND BLAKE WILLIAMS, an            )
   15      individual, and DOES 1            )
           through 10,                       )
   16                                        )
                         Defendants.         )
   17                                        )

   18

   19            VIDEOTAPED DEPOSITION OF JERRICO REYES,

   20    taken before Denise J. Lukasiewicz, Certified

   21    Court Reporter and General Notary Public within and

   22    for the State of Nebraska, beginning at 9:18 a.m.

   23    on the 13th day of November, 2018, at Sarpy County

   24    Corrections, 1208 Golden Gate Drive, Papillion,

   25    Nebraska.



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    1                      A P P E A R A N C E S

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   14

   15

   16
         ALSO PRESENT:
   17
         Ms. Anna Grady
   18    Think Video
         Videographer
   19

   20

   21
                                 ** ** ** **
   22

   23

   24

   25



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    1               Do you know what time he picked you up

    2    from your house, from your father's house?

    3          A.      I would say it was around 11 o'clock.

    4          Q.      And, then, do you know about what time

    5    you got to the Residence Inn?

    6          A.      Maybe about, like, 11:45, give or take.

    7          Q.      How far away was that Residence Inn?

    8          A.      About 15, 20 minutes --

    9          Q.      Okay.

   10          A.      -- driving.

   11          Q.      And when you got to the Residence Inn,

   12    what happened?

   13          A.      He told me to wait in the car, he was

   14    going to see if he can (sic) go get a room, and

   15    went to go inside, and then came back out.               He

   16    was in there for about -- I'd say about 15

   17    minutes, 20 minutes, tops.

   18          Q.      Okay.   And, at some point he came back

   19    out to the car?

   20          A.      Yes.

   21          Q.      And did he say anything to you?

   22          A.      Told me that he couldn't get the room

   23    because of expired ID.

   24          Q.      Okay.   And what'd you say about that?

   25          A.      I said, so what are we going to do?



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    1          Q.     Okay.    And, at that time, the minivan

    2    was stopped, correct, on the dark street, when

    3    you got to the dead-end, the minivan was

    4    stopped?

    5          A.     Yes.

    6          Q.     Okay.    And then what happened next?

    7          A.     Put it into -- put it into reverse, we

    8    reversed onto the driveway, to our right,

    9    there's a house to our right-hand side, when he

   10    reversed, he reversed onto the driveway, and

   11    then pulled it around.

   12          Q.     Okay.    When he reversed, do you recall

   13    him hitting anything?

   14          A.     Maybe a bump; that's about it.

   15          Q.     You think he might have hit a bump,

   16    you don't think he crashed into anything when he

   17    backed up?

   18          A.     No, because, when he reversed, we kind

   19    of -- it was kind of -- kind of -- we just kind

   20    of jumped, because, right there, as you -- as

   21    you know, there's an incline -- or a decline;

   22    right?

   23          Q.     Right.

   24          A.     So when we reversed onto the driveway,

   25    it kind of, like, jumped the curb -- I don't if



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    1    he hit a curb or what, it felt like we hit a

    2    curb or a little -- a little bump.

    3          Q.     Okay.    And then how many times did he

    4    put the car in reverse and forward until he

    5    turned around, do you recall?

    6          A.     Just once.

    7          Q.     So he just backed up once?

    8          A.     Yeah.

    9          Q.     And then what'd did you -- did you

   10    hear -- when you were backing up, or at any

   11    time -- from the time you stopped, until he

   12    backed up, did you hear anybody yelling anything?

   13          A.     To the time we backed up, right when

   14    we were backing up and we backed up into the,

   15    the driveway, a bunch of yelling, because of the

   16    sounds of the sirens and all of the flashing

   17    lights, I can't -- I couldn't really make out

   18    what they were saying.         I did hear a "stop" once

   19    we were -- we were pulling around (sic) the

   20    vehicle, but, by the time I heard the "stop,"

   21    Junef had -- threw his hands up in submission,

   22    and so I, I began to do the same thing, and he

   23    was -- he was yelling, all right, all right, all

   24    right, all right, and after we, we threw our

   25    hands up, then gunshots rang out, because I



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    1    of like a flash of light and, and kind of

    2    didn't -- can't remember a couple seconds from

    3    then, but I can recall rolling back, because I

    4    could feel the car moving backwards.

    5          Q.     (By Mr. Christiansen)         Okay.    So, you

    6    put a whole lot into that little section there,

    7    and I'm going to try to break it down; okay?

    8          A.     Sure.

    9          Q.     Okay.    So Junef stops on the dead-end

   10    street?

   11          A.     Yes.

   12          Q.     And then backs up once, you said?

   13          A.     Yes.

   14          Q.     And then he starts driving forward?

   15          A.     Driving -- he pulls it forward,

   16    bringing it around the cruiser, I believe it was

   17    around the cruiser, because he wasn't really

   18    aiming for the cruiser, or nothing like that,

   19    because, otherwise, I wouldn't be able to see

   20    (sic) the sirens.        I knew he was going around

   21    because we were -- at the point where they were

   22    at and how we were coming around, I was able --

   23    from my window, I'm able to see the, the lights

   24    and the actual cruiser, so I believe he was

   25    going in front of it to pull around.



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    1          Q.     Okay.    So he was driving forward;

    2    right?

    3          A.     Yes, forward.

    4          Q.     And did you hear anybody yelling at

    5    that time?

    6          A.     That's when I did hear the, the

    7    yelling, but I could only make out "stop" --

    8          Q.     Okay.

    9          A.     -- because of the sirens or the, the

   10    lights (sic).

   11          Q.     Now, when the vehicle came to a stop

   12    on that dead-end street --

   13          A.     Yes.

   14          Q.     -- did you ever think to get out of

   15    the car?

   16          A.     No.

   17          Q.     Did you ever tell Junef, "hey, I want

   18    to get out of the car"?

   19          A.     I did not.

   20          Q.     Did he say anything to you?

   21          A.     No.

   22          Q.     Okay.    Do you recall being interviewed

   23    by detectives?

   24          A.     Yes.

   25          Q.     Later that day?



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    1           A.    Yes.

    2           Q.    Around 3 or 4 in the afternoon; right?

    3           A.    Yes.

    4           Q.    Okay.    And you know that was recorded;

    5    correct?

    6           A.    Yes.

    7           Q.    Okay.    And you went to the hospital

    8    early that morning; is that correct?

    9           A.    Yes, I did.

   10           Q.    Okay.    Now, when Junef pulled around

   11    the police vehicle, you said, did he hit

   12    anything?

   13           A.    I think we barely, like, scraped the

   14    side of the vehicle.        We weren't actually

   15    head-on, or, like, barely, because like, let's

   16    say if you were -- we were trying to -- I could

   17    tell we were trying to just get by, but maybe

   18    there wasn't enough room, or something like

   19    that, not, not intentionally hit them, but to go

   20    around, like, like, sideswipe, so to say, just a

   21    little -- a little fender-bender, not, not too

   22    big.

   23           Q.    Did you see any police officers

   24    standing there?

   25           A.    I couldn't make out where they --



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    1     where any police officers were.

    2           Q.     Why not?

    3           A.     Due to the lights.

    4           Q.     So the flashing lights you could see

    5     the vehicles, but not police?

    6           A.     Yeah, I could see the vehicles, but I

    7     cannot -- I did not know where they were at.

    8           Q.     Okay.     And then, at some point, Junef

    9     said what?     "All right, all right, all right,"

   10     or something like that?

   11           A.     As soon as we -- I believe, from my

   12     recollection, that when we kind of like scraped

   13     against the car --

   14           Q.     Uh-huh.

   15           A.     -- it was right then, that's when he

   16     threw his hands up, because I remember hearing

   17     it, and I could hear the, the "eeerrr"

   18     (phonetic), and then hear the yelling, and I --

   19     I can hear "stop," and then he threw his hands

   20     up, so when he threw his hands up and yelled

   21     "all right, all right, all right, all right," I,

   22     I kind of did the same thing, because I, I know,

   23     just, that's, that's what we do, you know, until

   24     you stop, and then, you know -- so I threw my

   25     hands up, and that's when the fires (sic) -- the



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    1     gunfire started.

    2             Q.      So, then, were you still moving when

    3     he was saying "all right, all right, all right,"

    4      and putting his hands up?

    5             A.      I can't recall.   I don't think we

    6     were.        We were -- I -- from that point on, I

    7     kind of, like, blacked out a little bit.             I, I

    8     remember, after the, the windshield being shot

    9     at, and me slouching down in my seat, I kind of

   10     blacked out, and when I came to, we were already

   11     going back.

   12             Q.      Okay.   So he says "all right, all

   13     right, all right," how did you see his hands,

   14     where were his hands at?

   15             A.      Above his head.

   16             Q.      Like touching the ceiling?

   17             A.      I, I would say so, almost.

   18             Q.      Okay.   So you looked up and you saw

   19     his hands touching the ceiling?

   20             A.      I, I wouldn't say exactly touching,

   21     but I could tell his hands were up because I

   22     could see the shadow of his hands like this, you

   23     know.        (Witness indicating.)    And that's about

   24     it, so I did the same thing.

   25             Q.      Okay.   You say you put your hands up?



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    1     they sat you up?

    2             A.   Yeah.   Well, maybe they used a knee to

    3     put in the middle of my back to hold me down

    4     before they cuffed me, but that's about it,

    5     nothing too major.

    6             Q.   And did they sit you up or stand you

    7     up?

    8             A.   They -- at first, they told me to roll

    9     over to sit up, and then they stood me up --

   10             Q.   Okay.

   11             A.   -- and then they pulled me to the

   12     side.

   13             Q.   Did anybody ask you if you were okay?

   14             A.   While they were doing that, they did

   15     ask me where I'm hit at, I told them in the hand

   16     and, and in the forehead because I was gushing

   17     blood, like I said, right here, and my hand, and

   18     the officer asked me, were you hit anywhere

   19     else, do you -- do you feel any holes anywhere

   20     else, and he was, like, checking my body, and I

   21     said, no, not that I know of.

   22             Q.   So they, they made sure you were okay;

   23     right?

   24             A.   For the most part, yeah.

   25             Q.   And, at some point, the paramedics



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    1     I was -- I wasn't, like, up close --

    2            Q.    Right.

    3            A.    -- I was off to the side, by the first

    4     house, by the gate, the officer was standing

    5     there with me.        I remember them pulling him out

    6     onto the floor (sic), once on the floor (sic),

    7     there was an officer, I believe, administering

    8     CPR.    During that time, I asked the officer that

    9     I was with if he's going to make it, and he

   10     replied, I'm not -- I don't know, my partner is

   11     working on him.

   12            Q.    Okay.     And so you saw officers giving

   13     Junef CPR?

   14            A.    Yes.

   15            Q.    And, at some point, the paramedics

   16     arrive.     Did they then take over the CPR?

   17            A.    They did not.

   18            Q.    They didn't take over the CPR?

   19            A.    No, by the time the paramedics

   20     arrived, I was brought up to the paramedics.

   21            Q.    Okay.     Did you see where Junef was,

   22     still, at that time, or could you not see him?

   23            A.    By the time we left the vehicle, or

   24     the side of the -- actually, the side of the

   25     house -- or the front of the house, by the



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    1           A.     I can't recall.

    2           Q.     Okay.   Do you recall telling them you

    3     didn't know what his last name was?

    4           A.     I can't -- I can't even recall them

    5     asking me.

    6           Q.     Okay.   And do you recall where your

    7     hands were when you got an injury to your hand?

    8     In other words, it was sometime after the

    9     shooting started, right, you were still in the

   10     back seat?

   11           A.     Yes.

   12           Q.     You felt something hit your hand or

   13     you felt your hand get hurt?

   14           A.     Yeah, I, I did.      I'm not -- I'm pretty

   15     sure it was in the air, because, by that time,

   16     when I did feel something, I felt something and

   17     I slouched down.

   18           Q.     Okay.   So you think your hand -- your

   19     hands were up when it (sic) got shot?

   20           A.     Yes.

   21           Q.     Did you ever tell the investigators

   22     that you had your hands up when you got shot in

   23     your hand?

   24           A.     I'm not too sure what I -- what I told

   25     them, if I told them that my hands were up,



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    1     or -- by the time I got shot.          I vaguely spoke

    2     about it that we did surrender, and we did have

    3     our hands up by the time I heard the shooting,

    4     and by the time the bullets started coming into

    5     the vehicle.

    6           Q.    Okay.     Did you tell any of the

    7     paramedics that you had your hands up and you

    8     got shot in your hand?

    9           A.    I didn't -- they didn't ask, they just

   10     assessed me, looked at it, and then -- during

   11     the whole time, I was in cuffs, so he told me --

   12     he told me to turn around, let me see, let him

   13     see my hands.       My forehead was still dripping,

   14     they cleaned it up a little bit, took a look at

   15     it, and said, oh, he's all right.

   16           Q.    But you didn't know you got shot in

   17     the hand; right?

   18           A.    I, I would say -- I wouldn't say that

   19     I knew I got shot because I've never -- I've

   20     never felt a gunshot before --

   21           Q.    Okay.

   22           A.    -- so I don't know if that's what it

   23     felt like, but, yeah.

   24           Q.    Okay.     And you had an injury to your

   25     head, a little scrape?



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    1           A.    Yes.     I don't know what hit me in the

    2     head, though.       I, I remember a little bit of

    3     blood -- well, not a little bit, it was kind of

    4     a lot, a lot of blood was leaking out, I could

    5     feel it because it was dripping down past my

    6     eye, all the way down.        I'd say I was hit pretty

    7     bad there, too, because of the amount of blood

    8     that was coming out.

    9           Q.    Did the hospital give you any stitches

   10     in your head?

   11           A.    No, they did not.

   12           Q.    Did they ever tell you it was a

   13     superficial wound?

   14           A.    Superficial wound?

   15           Q.    Meaning just a scrape.

   16           A.    Yeah, after they cleaned me up, they

   17     said, hey, it was just not too bad on the

   18     forehead, so they didn't even bother with that,

   19     that one was really kind of a -- I don't think

   20     they needed to -- they, they debated whether

   21     it -- they needed to stitch me up.            They said no

   22     on the forehead.

   23           Q.    Okay.     And, at the hospital, they told

   24     you to -- that you needed to follow up, right,

   25     in two days you needed to come back?



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    1           A.     Yes, I believe so.

    2           Q.     Okay.   Looking at 317, at 33, you're

    3     giving a little description there, and, at the

    4     end, you say "I hear a couple of officers say

    5     stop, stop, stop."       Do you recall that?

    6           A.     I don't recall saying "stop, stop,

    7     stop."     I heard a "stop."      I can make a "stop"

    8     word out.

    9           Q.     Okay.   But you heard somebody say

   10     "stop"?

   11           A.     Yeah, I heard "stop."

   12           Q.     You just don't recall it being "stop,

   13     stop, stop" now?

   14           A.     Yeah, I don't.

   15           Q.     Looking at 320, starting at line 1,

   16     this is your statement, "I think, when he put it

   17     in reverse, and then he put it in drive and we

   18     took off to go around the car, which he

   19     probably -- I think he hit a car on the way

   20     going around the car, like, scraped the other

   21     car, and that's -- we didn't even get too far.

   22     I just heard the pop, pop, pop, and that's it."

   23           A.     Yeah, that sounds, sounds about right.

   24           Q.     Okay.   And you didn't say anything

   25     about hands up; right?



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    1     your recollection that there was shooting before

    2     anybody put their hands up?

    3           A.     What's that?     What was the question?

    4           Q.     Does that refresh your recollection

    5     that there was shooting first, before anybody

    6     put their hands up?

    7           A.     No, I, I -- my recollection is that we

    8     put our hands up, then they shot.

    9           Q.     Okay.   Let me keep reading here.          The

   10     detective says, "Okay.        So after they let off

   11     shots," Answer, "Yeah.        Question, "He kind of

   12     motions his hands up," question mark.            Answer,

   13     "Yeah.     Then he -- incomprehensible -- and then

   14     I blanked out."      Does that refresh your

   15     recollection that there were shots before

   16     anybody put their hands up?

   17           A.     I, I don't know.      I don't think this

   18     to be accurate.      I don't know this to be accurate.

   19           Q.     So were you lying?

   20           A.     No.

   21           Q.     You were trying to be truthful; right?

   22           A.     Yes.

   23           Q.     And hear you said there were shots

   24     first, correct, before there were any hands up?

   25           A.     I didn't state that.



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    1     good for now.       You told me you've got some

    2     questions, so why don't you go ahead and ask

    3     them and if I --

    4                         MR. SEHAT:    May I?

    5                         MR. CHRISTIANSEN:      -- figure out

    6     anything --

    7                         MR. SEHAT:    Okay.

    8                         MR. CHRISTIANSEN:      -- I'll follow up.

    9                         MR. SEHAT:    I've got a few

   10     follow-up questions, Mr. Reyes.

   11                         CROSS-EXAMINATION

   12     BY MR. SEHAT:

   13           Q.    When you were back in the parking lot,

   14     sitting in the parking lot of the Residence Inn,

   15     at some point, Junef makes his way back from the

   16     Residence Inn and into the car, and you began to

   17     drive away; do you remember that?

   18           A.    Yes.

   19           Q.    And when he began to pull away from

   20     the parking lot, how was his driving?

   21           A.    His driving was fine.

   22           Q.    Okay.     Was he driving safely?

   23           A.    Yeah, safely.

   24           Q.    Okay.     And after the officers turned

   25     on their lights, and during the pursuit, did



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    1     Junef get into any car accidents?

    2           A.    No.

    3           Q.    And, again, I'm referring to a point

    4     in time when you were on the freeway; right?

    5           A.    Yes.

    6           Q.    Did you see Junef cause a car accident?

    7           A.    No.

    8           Q.    Was Junef trying to get away?

    9           A.    Yes, I -- I can clearly see that we

   10     were -- we were just moving, moving along.

   11           Q.    Okay.    And as you pulled into that

   12     street, that dark street, which you're calling

   13     Mesa --

   14           A.    Yeah.

   15           Q.    -- was Junef still trying to get away?

   16           A.    Yes, I believe so.

   17           Q.    Okay.    What about the point in time

   18     when he comes to a stop at the dead-end, was

   19     Junef still trying to get away?

   20           A.    Yes.

   21           Q.    Okay.    At any point during the

   22     incident, did Junef lead you to believe that he

   23     was trying to run over any police vehicles?

   24           A.    No.

   25           Q.    At any point during the incident, did



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    1     Junef lead you to believe that he was trying to

    2     run over any police officers?

    3           A.    No.

    4           Q.    Now, this question may have asked -- may

    5     have been asked of you before, but when Junef

    6     was backing up to make that, that three-point

    7     turn into a driveway, what was his speed?

    8           A.    I couldn't say what it -- it wasn't

    9     more than 10, 15 miles per hour, due to the fact

   10     that it (sic) was not that much room.

   11           Q.    Could you speak a little louder,

   12     please?

   13           A.    I, I said it couldn't have been more

   14     than 10, 15 miles per hour, due to the fact that

   15     it was only a minimum amount of space.

   16           Q.    Okay.    And when he was reversing into

   17     the driveway, did you observe or feel any impact

   18     with a police vehicle?

   19           A.    No.

   20           Q.    When he was backing into the driveway,

   21     did you observe or feel the vehicle impact any

   22     police officers?

   23           A.    No.

   24           Q.    Okay.    And, now, after he's into the

   25     driveway and begins to pull forward, what was



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    1     his estimated speed?

    2           A.    Around the same, I would say, because

    3     it wasn't that -- we weren't --

    4           Q.    10 to 15 miles an hour, would that be

    5     "the same"?

    6           A.    Yeah, 10, 15 miles an hour, because we

    7     weren't able to just catch up -- gain any speed

    8     within that amount of space.

    9           Q.    Now, when you're pulling forward from

   10     the driveway, are you able to see any

   11     officers --

   12           A.    No.

   13           Q.    -- in -- let me finish my question.

   14     When you're pulling forward from the driveway,

   15     right before you make the turn, are you able to

   16     see any officers in your field of vision?

   17           A.    No.

   18           Q.    Are you able to see anything in your

   19     field of vision?

   20           A.    Just the lights.

   21           Q.    Okay.    And what lights are you

   22     referring to?

   23           A.    The police lights, the red and blue

   24     lights.

   25           Q.    And what direction, in your field of



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    1     view, are you able to see the police lights when

    2     the vehicle is pulling forward from the

    3     driveway?

    4             A.   To my left-hand side.

    5             Q.   Okay.   Now, when you -- when the

    6     vehicle was pulling left, making a left past the

    7     police unit, did you hear any officers give any

    8     warnings that they were about to shoot at you

    9     guys?

   10             A.   I heard yelling, couldn't make out

   11     what, what they were saying.          I could heard a

   12     "stop," that I could make out, out of

   13     everything, all of the commotion going on.              That

   14     being that, I, I can't say I, I heard, like,

   15     more than that.

   16             Q.   Okay.   So, just to be clear, other

   17     than the yelling and the "stops" (sic) that you

   18     heard, did you hear any officers say that they

   19     were going to shoot?

   20             A.   No, did not hear none of that.

   21             Q.   How long after you regained

   22     consciousness, as the van had either stopped or

   23     was rolling to a backwards stop, do you remember

   24     seeing or hearing the dog inside the vehicle?

   25             A.   Could you rephrase -- please, please



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    1     say the question.

    2           Q.    Okay.    At some point, you testify you

    3     remember seeing a dog tugging on Junef's arm;

    4     right?

    5           A.    Yes.

    6           Q.    So how long was this after the van had

    7     come to a complete stop?

    8           A.    The dog, I believe, was already in the

    9     vehicle, before it came to a complete -- a

   10     complete stop.      By the time I came to and

   11     quitting (sic) rolling back, when I did notice

   12     the dog, first came to and I heard the dog, and

   13     then seen -- upon seeing the dog, it was already

   14     in the vehicle before we could even roll -- come

   15     to a rolling stop.

   16           Q.    How long do you remember the dog on

   17     (sic) the bite before it was pulled off of

   18     Junef?

   19           A.    I'd say about a minute, like, about a

   20     good minute --

   21           Q.    Okay.

   22           A.    -- maybe 45 seconds, a minute.

   23           Q.    Okay.    And you remember them -- seeing

   24     Junef being pulled out of the vehicle by the

   25     officers?



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    1           A.     Yes.    Once they -- once they pulled me

    2     out, they pulled him out after.

    3           Q.     Okay.    So how long after you heard --

    4     do you remember hearing the last set of shots

    5     until you, you remember seeing Junef being

    6     pulled out of the vehicle?

    7           A.     How long after the last set of shots?

    8     I only heard one set of shots.           Maybe about,

    9     like, eight of them, at the most, nine.             That's

   10     about it.     I, I didn't hear -- I didn't see -- I

   11     didn't see two sets -- or hear two sets of

   12     shots.     After that, I would say about, after the

   13     first -- after the first shot, I would say,

   14     before they pulled him out, maybe about three

   15     minutes, at the most --

   16           Q.     Okay.

   17           A.     -- three minutes, four minutes, tops.

   18           Q.     All right.     Let's talk about the point

   19     in time when you were interviewed by the

   20     Riverside Sheriff's Department investigators.

   21     Do you remember, generally, what that interview

   22     felt like?     Did it feel like an interrogation?

   23           A.     Yeah, more and more of an

   24     interrogation than, than an interview, due to

   25     the fact that when -- when I walked in, I was



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    1     stated that I just -- I didn't need stitches for

    2     it.     They were -- they were more focused on my

    3     hand wound than my, my head injury.

    4             Q.      Did they ever say that they had --

    5     they found evidence of a head trauma?

    6             A.      No, they didn't -- they didn't tell me

    7     that.

    8             Q.      What do you think -- how do you --

    9     strike that.

   10                  How do you think you caused that -- or

   11     that trauma, that abrasion to your forehead, was

   12     caused?

   13             A.      I don't believe it to be a bullet,

   14     because I would be dead right now.            Maybe glass

   15     or, or some kind of -- something sharp.             I

   16     can't -- I can't think of anything else, because

   17     of being that the seat is in front of me, I

   18     don't know if I hit anything hard.            I can't

   19     recall anything around me that would -- that

   20     would fly to hit me to make a thing like that.

   21             Q.      Did you lose consciousness during this

   22     incident?

   23             A.      I did, after the shots, for a little

   24     bit.     I -- I'm guessing it wasn't too long,

   25     because, by the time I came to, we were still



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    1     rolling back.

    2           Q.      Okay.   So did you have any belief that

    3     you may have hit your head against certain -- an

    4     object inside the vehicle?

    5           A.      It's possible, but I -- then, again, I

    6     can't really remember if I -- if I hit it on --

    7     or exactly what I hit it on, but I knew I was

    8     hit, I just don't know exactly what hit me.

    9           Q.      Did you ever -- strike that.

   10                Were you ever given a, a CAT scan at the

   11     hospital for your head?

   12           A.      I was given a CAT scan.       They had a

   13     truck, a CAT scan that -- that's that big, round

   14     thing, with the thing that goes over it?

   15           Q.      The tube?

   16           A.      Yeah, like a tube.      They did have a

   17     truck that was outside, they -- I was escorted

   18     by an officer, with a specialist, I believe, who

   19     brought me out there, give me a scan, and then

   20     brought back, I think, two times.

   21           Q.      Did the doctor or the -- any type of

   22     radiologist go over the findings of the CAT scan

   23     of your head?

   24           A.      I, I don't recall them going over it

   25     with me, exactly.         I -- they just -- I vaguely



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